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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


  JOHNSON & JOHNSON HEALTH CARE
  SYSTEMS INC.,
                                              Case No. 2:22-cv-02632-JMV-CLW
                     Plaintiff,                (Document electronically filed)

             v.                               Oral Argument Requested

  SAVE ON SP, LLC,

                     Defendant.




            MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S
                MOTION TO PARTIALLY STAY DISCOVERY



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                                 PRELIMINARY STATEMENT

          This case concerns JJHCS’s 1 attempt to prevent the employers who sponsor health plans

 from fighting back against drug manufacturers, like JJHCS, that have massively hiked the costs of

 their specialty drugs over recent decades. As drug makers have raised prices, they have introduced

 “copay assistance” programs, like JJHCS’s CarePath program, which they say help patients afford

 the rising costs of their drugs. In fact, these programs benefit drug manufacturers. By covering the

 copays that health benefit plans require plan participants to pay, JJHCS induces participants to

 continually use its drugs instead of its competitors’ drugs, increasing its sales. The Second Circuit

 recently upheld an advisory opinion from the Department of Health and Human Services deter-

 mining that such copay assistance programs are illegal when applied to federal healthcare pro-

 grams, as they violate the Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b)(2)(B). See Pfizer, Inc.

 v. U.S. Dep’t of Health & Hum. Servs., 42 F.4th 67, 69 (2d Cir. 2022).

          SaveOn advises healthcare plan sponsors how to structure their plan benefits to take ad-

 vantage of copay assistance while ensuring that plan participants get their specialty drugs for free.

 These terms: (1) reclassify some drugs as “non-essential health benefits” under the Affordable

 Care Act; (2) set higher copays for them; and (3) set plan benefits in which participants who enroll

 in copay assistance programs and consent to SaveOn monitoring their pharmacy accounts can get

 their drugs for free. Recognizing that ERISA prevents it from suing plan sponsors directly to stop

 them from adopting and implementing those terms, JJHCS instead sued SaveOn, seeking relief

 that would make it functionally impossible for any plan sponsor to implement such terms.




 1
     Unless otherwise indicated, defined terms have the same meaning as in JJHCS’s Complaint.
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        This motion concerns JJHCS’s demand for broad, expedited discovery before the Court

 resolves SaveOn’s dispositive motion to dismiss. On the day it served its Complaint, JJHCS at-

 tempted to serve 42 sweeping document requests, and demanded that the parties begin discovery

 before SaveOn had even responded to the Complaint. When SaveOn declined, JJHCS urged this

 Court to set a Rule 16 conference immediately, even though the Local Rules give the Court the

 discretion to set that conference after an answer is filed, and even later if a dispositive motion is

 pending, as here. When the Court denied that motion during a recent hearing, and instead ordered

 the parties to brief whether discovery should proceed, JJHCS continued to press the Court to sched-

 ule the Rule 16 conference, which the Court again denied.

        Following the hearing, SaveOn proposed a compromise to JJHCS: While the motion to

 dismiss is pending, the parties would do most major discovery work short of depositions and doc-

 ument production—that is, initial disclosures, initial document requests, limited initial interroga-

 tories, responses and objections, a protective order, an electronic discovery protocol, negotiation

 of document search parameters (search terms, custodians, time periods)—and, if any of JJHCS’s

 claims survive, the parties would produce documents on an expedited basis at that point. JJHCS

 refused. It demanded instead that SaveOn not only start full discovery now but expedite it, so that

 the parties would produce all documents before the Court decides the pending motion.

        SaveOn now asks the Court to partially stay discovery and order the parties to proceed with

 the limited initial discovery that SaveOn proposed, as reflected in the attached Proposed Order.

        First, a partial stay would simplify the issues before the Court by narrowing or outright

 eliminating entirely the need for discovery and associated motion practice. SaveOn seeks to dis-

 miss all of JJHCS’s claims on grounds that could not be cured by amendment. Those claims are




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 fatally flawed because they are preempted by ERISA and because JJHCS has not sufficiently pled

 the elements of its claims. Section I.A, infra.

           Second, SaveOn would be prejudiced by engaging in document discovery while its motion

 to dismiss is pending. JJHCS’s document requests ask SaveOn to produce huge numbers of docu-

 ments, including large swaths of sensitive patient information. Section I.B, infra.

           Third, JJHCS would not be prejudiced by a partial stay. SaveOn is preserving relevant

 documents and has offered to negotiate now the search parameters to gather material for any later

 production. There is nothing about JJHCS’s claims that requires early resolution. And any sugges-

 tion by JJHCS that patients are being harmed in the interim is simply false. Section I.C, infra.

           Finally, this litigation is in an early stage. The parties have not agreed to a discovery plan,

 and the Court has not yet scheduled a Rule 16 conference. A partial stay of document production

 while the parties engage in the initial phases of discovery thus would not disrupt the litigation.

 Section I.D, infra.

                                            BACKGROUND

           On May 4, 2022, JJHCS filed its Complaint, alleging that SaveOn engaged in deceptive

 trade practices under NY GBL § 349 and tortiously interfered with contracts between patients and

 JJHCS. Compl., ECF No. 1. JJHCS seeks damages and an injunction. Id.

           When JJHCS served its Complaint on May 11, 2022, it attached a set of 42 purported initial

 document requests. See Ex. 1 (Pl.’s First Reqs.). 2 3 JJHCS seeks, among other things:




 2
     Exhibits are attached to the Certification of E. Evans Wohlforth, Jr.
 3
  JJHCS did not properly serve these document requests. Parties ordinarily may not “seek discov-
 ery” prior to a Rule 26(f) conference. Fed. R. Civ. P. 26(d)(1). Requests for documents under


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        •   “Documents sufficient to identify every person who has ever been enrolled in CarePath
            and the SaveOnSP Program” and “every health plan who has ever contracted with
            SaveOnSP or Express Scripts to participate in the SaveOnSP Program,” Ex. 1 at 6
            (Reqs. 3, 4);

        •   All communications with or concerning persons currently enrolled in or eligible for
            CarePath, id. (Reqs. 5, 7, 8);

        •   “[A]ny payments remitted to SaveOnSP” pursuant to its agreements with Express
            Scripts (a pharmacy benefit manager) “or any other agreement, written or otherwise,”
            id. at 7 (Req. 10);

        •   All agreements between SaveOn and Express Scripts, Accredo (a specialty pharmacy),
            or any health insurance plan sponsors, id. at 6-7 (Reqs. 9-11, 13, 17); id. at 11 (Req.
            37);

        •   Annual program summary documents for every plan that SaveOn partners with and all
            communications with those plans, id. at 10-11 (Reqs. 36-38);

        •   “All documents and communications relating to CarePath,” id. at 8 (Req. 23);

        •   All documents that would allow JJHCS to “identify” members of plans affiliated with
            SaveOn via “the transaction/claims data,” id. at 11 (Req. 40); and

        •   All data concerning any manufacturer assistance provided for prescriptions filled by
            members of SaveOn-affiliated plans from January 1, 2016 through the present, id.
            (Req. 41).

        JJHCS demanded that SaveOn agree to a Rule 26(f) conference by July 3, 2022, two weeks

 before SaveOn was to file a motion to dismiss JJHCS’s claims in their entirety. Ex. 3 at 1. SaveOn

 declined, noting that a Rule 26(f) conference was not required until three weeks before the Court

 holds a Rule 16 conference, which it need not do until 60 days after an answer is filed, and that




 Federal Rule of Civil Procedure 34 cannot be delivered within 21 days of service of the summons
 and complaint, and in any event are not considered served until the parties have held a Rule 26(f)
 conference. Fed. R. Civ. P. 26(d)(2). JJHCS served its document requests on the same day that it
 served its Complaint, and prior to any Rule 26(f) conference. Its requests were thus not properly
 served. See, e.g., Cowe v. Moormann, 2019 WL 1493367, at *1 (D.N.J. Apr. 3, 2019) (“Plaintiff’s
 discovery motion is denied as the initial conferences should occur prior to discovery.”); A.A. Action
 Collection Co. v. Dweck, 2011 WL 13143955, at *1 (D.N.J. July 25, 2011) (quashing subpoena as
 premature under Rule 26(d)(1)).
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 JJHCS had not shown a compelling need for early discovery. Ex. 5 (Ltr. to J. Greenbaum) (citing

 Local Rule 16(a)(1)). JJHCS moved this Court to schedule a Rule 16 conference, Pl.’s Ltr., ECF

 No. 25; SaveOn opposed, Def.’s Ltr., ECF No. 27; and the Court scheduled a hearing for August

 16, 2022, ECF No. 29.

           On July 15, 2022, SaveOn moved to dismiss JJHCS’s claims in full. Def.’s Br. Supp. Mot.

 Dismiss (“Mot.”), ECF No. 31-1. JJHCS opposed on August 15. Pl.’s Opp’n Br. (“Opp.”), ECF

 No. 34. SaveOn replied on August 29. Def.’s Reply Br. (“Reply”), ECF No. 43. SaveOn moved

 on three substantive grounds. First, JJHCS’s claims concerning payments made by CarePath to

 participants in ERISA plans are preempted by ERISA, because JJHCS’s claims seek to interfere

 with SaveOn’s implementation of plan terms at the plan sponsors’ direction; seek to coerce ERISA

 plan sponsors to change their plan terms; and would require the Court to interpret plan terms to

 assess JJHCS’s damages and its GBL § 349 claim. Mot. 9-15.; Reply 3-7. 4 Second, JJHCS fails to

 state a claim for deceptive trade practices under GBL § 349 because it fails to sufficiently allege:

 (1) a cognizable, direct injury caused by SaveOn; (2) that SaveOn deceived or misled the public;

 or (3) that SaveOn caused public harm. Mot. 15-25; Reply 7-10. Finally, JJHCS fails to state a

 claim for tortious interference with contract because it fails to: (1) explain how SaveOn could have

 tortiously interfered with contracts that did not yet exist at the time of its conduct; (2) explain how

 SaveOn could have induced patients already enrolled in CarePath to breach their contracts by en-

 rolling with CarePath; or (3) allege that plan benefit terms constitute an impermissible “offer.”

 Mot. 25-29; Reply 10-12.




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     All pin citations to Mot., Opp., and Reply refer to the document pagination.
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         On August 16, 2022, the Court held a hearing on the parties’ discovery dispute. See Ex. 2

  (Hr’g Tr.). The Court declined to set a Rule 16 conference and instead ordered the parties to brief

  whether discovery should proceed or be stayed. Id. at 24:19-25:3; 26:9-27:3. The Court also ad-

  vised the parties to consider whether they could compromise on proceeding with limited discovery

  before the motion to dismiss was resolved. Id. at 27:11-14.

         Following the hearing, SaveOn proposed a compromise to JJHCS: (1) the parties would

  agree to stay document production and depositions until after the resolution of the MTD; (2) in the

  interim, the parties would exchange Rule 26 disclosures, serve initial document requests, serve

  limited initial interrogatories, serve written objections and responses to initial document requests

  and interrogatories, and meet and confer about initial search parameters (search terms, custodians,

  time periods); (3) the parties could litigate disputes over this initial discovery before the motion to

  dismiss is resolved, putting the parties in a position to quickly produce documents thereafter; and

  (4) if any of JJHCS’s claims survive SaveOn’s motion, the parties would complete discovery ex-

  peditiously—starting document production within 30 days of the decision, substantially complet-

  ing production in another 90 days, and completing non-expert depositions within 90 days after

  that. Ex. 4 at 1, 3; see Def.’s Proposed Order (the “Proposed Order”).

         JJHCS rejected this compromise. It offered no compromise of its own. It rather proposed

  that the parties not only start full discovery now, but that they expedite discovery, requiring the

  parties to substantially complete document production before the Court resolves the motion to

  dismiss. Ex. 4 at 2.

         SaveOn now moves the Court to adopt its proposed schedule, which seeks to advance the

  discovery process without subjecting SaveOn to potentially needless discovery pending a decision

  on its motion to dismiss.

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                                            ARGUMENT

         The question of whether to schedule a Rule 16 conference or to postpone discovery is

  committed to this Court’s sound discretion. The Local Rules permit this Court to “defer[]” a

  Rule 16 conference “due to the pendency of a dispositive or other motion,” Local Rule 16.1(a)(1),

  and it need not schedule that conference until a defendant has “fil[ed] … an initial answer,” id.

  After discovery has commenced, this Court has “discretion to stay a proceeding whenever the

  interests of justice mandate such action.” Eye Care Ctr. of New Jersey, P.A. v. Twin City Fire Ins.

  Co., 2020 WL 7227186, at *2 (D.N.J. Nov. 20, 2020) (internal quotations omitted); see also Gerald

  Chamales Corp. v. Oki Data Americas, Inc., 247 F.R.D. 453, 454 (D.N.J. 2007) (“Magistrate

  Judges have broad discretion to manage their docket and to decide discovery issues, including

  whether to stay discovery pending a decision on a dispositive motion.”).

         Under Federal Rule of Civil Procedure 26(c), this Court also may stay discovery for good

  cause, referring to four factors: (1) “whether a stay would simplify the issues and the trial of the

  case”; (2) “whether denial of the stay would create a clear case of hardship or inequity for the

  moving party”; (3) “whether a stay would unduly prejudice or present a clear tactical disadvantage

  to the non-moving party”; and (4) “whether discovery is complete and/or a trial date has been set.”

  Gibly v. Best Buy Co., 2022 WL 2413906, at *3 n.4 (D.N.J. Mar. 7, 2022); see also Actelion

  Pharms. Ltd. v. Apotex Inc., 2013 WL 5524078, at *3 (D.N.J. Sept. 6, 2013) (same). Courts

  “adapt[]” their consideration of the good cause standard to “reflect the additional considerations

  that arise where a stay is sought pending resolution of a dispositive motion.” Actelion, 2013 WL

  5524078, at *3; see also Gibly, 2022 WL 2413906, at *3 n.4 (“[I]t is well-settled that ‘it may be

  appropriate to stay discovery while evaluating a motion to dismiss where, if the motion is granted,

  discovery would be futile.’” (quoting Mann v. Brenner, 375 F. App’x 232, 239 (3d Cir. 2010))).


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  I.     The Court Should Partially Stay Discovery and Order Limited Initial Discovery

         While the Court has solid grounds to defer the Rule 16 conference (and hence all discovery)

  until the motion to dismiss is resolved, SaveOn asks the Court to use its discretion to enter the

  Proposed Order that allows meaningful initial discovery to proceed while staying document pro-

  duction, depositions, and third-party discovery. Proposed Order. Although the “good cause” stand-

  ard to stay discovery does not apply here (as discovery has not commenced), SaveOn’s request

  would easily meet that standard.

         A.      Partially Staying Discovery Will Simplify the Issues and Promote Judicial
                 Economy

         Stays are favored where “issuance of a stay would simplify the issues for trial by narrowing

  or outright eliminating the need for discovery.” Actelion, 2013 WL 5524078, at *5 (internal quo-

  tations and original alterations omitted); see also Gibly, 2022 WL 2413906, at *3 n.5. Courts

  “ha[ve] an interest [in] resolving individual cases efficiently” and effectively managing their case-

  loads. Strategic Env’t Partners, LLC v. State of New Jersey Dep’t of Env’t Prot., 2016 WL

  3267285, at *5 (D.N.J. June 8, 2016) (quoting Walsh Sec., Inc. v. Cristo Prop. Mgmt., Ltd., 7 F.

  Supp. 2d 523, 526 (D.N.J. 1998)).

         In the face of a pending dispositive motion, the court “examine[s] the impact of [the] dis-

  positive motion.” Actelion, 2013 WL 5524078, at *5-6. That inquiry favors a stay here. SaveOn

  has filed a dispositive motion to dismiss on grounds that could not be cured by amendment. The

  Court need not find that SaveOn has a “clear and unmistakable likelihood of success” on the pend-

  ing motion. Actelion, 2013 WL 5524078, at *5 (internal quotations omitted). Rather, it asks

  “whether the pending dispositive motion … appear[s] to be without foundation in law.” Id.; see

  also Burress v. Freedom Mortg. Corp., 2021 WL 2661254, at *4 (D.N.J. May 26, 2021). JJHCS

  cannot credibly assert that the MTD “is without basis, frivolous, or filed solely for a dilatory

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  purpose.” Actelion, 2013 WL 5524078, at *6. SaveOn’s motion is well-founded and likely to dis-

  pose of JJHCS’s claims.

         SaveOn showed that JJHCS’s claims are preempted by ERISA § 514(a). Mot. 9-15.

  JJHCS’s claims are impermissibly “connected with” ERISA plans (one test for ERISA preemp-

  tion), because JJHCS seeks to compel and coerce plan sponsors to change plan terms and because

  its claims would interfere with SaveOn’s implementation of those plan terms. Id. at 9-13. JJHCS

  asserts that the parties to this action are not the “traditional ERISA entities,” e.g., plans and plan

  participants, Opp. 12-14, but the test is whether its claims “arise out of” and “directly affect the

  relationship among” traditional ERISA entities. Plastic Surgery Ctr., P.A. v. Aetna Life Ins. Co.,

  967 F.3d 218, 235-36 (3d Cir. 2020). JJHCS’s claims do just that, because they seek an injunction

  and damages that would force ERISA plans to change their benefit designs. Reply 3-6.

         ERISA § 514(a) preempts JJHCS’s claims for the independent reason that those claims

  require the Court to “constr[ue]” or “interpret[] plan terms.” Plastic Surgery, 967 F.3d at 230; see

  also Mot. 13-14 (citing Somerset Orthopedic Associates, P.A. v. Horizon Healthcare Servs. Inc.,

  2020 WL 1983693, at *4 (D.N.J. Apr. 27, 2020)). JJHCS says that SaveOn injured it by causing it

  to pay more in copay assistance than it did under plans without terms that SaveOn proposed, Opp.

  25, but this would require the Court to compare current and previous plan terms. Mot. 14; Reply

  7. SaveOn also showed that JJHCS’s GBL § 349 claims for alleged denials of coverage would

  require the Court to assess whether SaveOn’s actions complied with the relevant plans. Mot. 14-

  15; Reply 7.

         SaveOn also showed that JJHCS’s claims under GBL § 349, New York’s consumer pro-

  tection statute, fail on their face. The New York Court of Appeals has held that a third-party payer

  of health care costs cannot bring claims under GBL § 349 for amounts it pays on behalf of patients,

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  Blue Cross & Blue Shield of N.J., Inc. v. Philip Morris USA Inc., 3 N.Y.3d 200, 207 (2004), which

  is what JJHCS does here. Mot. 16-17; Reply 8. JJHCS also acknowledged that SaveOn’s alleged

  deception does not cause JJHCS to pay more in copay assistance, as it admits that plan participants

  faced with increased copays would turn to CarePath in any event. Mot. 17-18; Reply 8-9. SaveOn

  also showed that JJHCS’s allegations of consumer harm and deception are speculative or contra-

  dicted by JJHCS’s cited documents. Mot 18-25, Reply 9-10.

         SaveOn additionally showed that JJHCS’s tortious interference claim is not well-pled.

  JJHCS’s allegation that SaveOn tortiously induces participants to enroll in CarePath fails because

  most patients are pre-enrolled in CarePath at the time SaveOn speaks with them, meaning SaveOn

  could not have caused the breach. For any participant SaveOn speaks to before they enroll in Care-

  Path, JJHCS’s claim fails because SaveOn cannot tortiously interfere with a contract that does not

  yet exist. Mot. 25-27. JJHCS changed theories in its Opposition, asserting SaveOn tortiously in-

  duces patients to enroll in a “SaveOnSP Program,” Opp. 37, but JJHCS does not explain what that

  program is if it is not plan terms, and JJHCS does not dispute that plan terms cannot breach its

  CarePath contracts. Reply 2-3, 11-12.

          In addition to assessing the viability of SaveOn’s motion to dismiss, the Court must also

  assess “how the motion’s resolution may impact the overall adjudication of [the] action.” Actelion,

  2013 WL 5524078, at *6. It must ask if resolution of the pending motion may “narrow” or “outright

  eliminate” the need for discovery, thereby avoiding the expense of unnecessary discovery. Id.

  at *5. “[T]his factor requires an individual determination in light of the specific circumstances of

  a given case” and “the nature of the dispositive motion.” Id. at *6. This analysis also favors a stay.

         SaveOn’s motion could eliminate the need for discovery by dismissing JJHCS’s claims in

  full on grounds that could not be cured by amendment. Even if the motion results in a partial

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  dismissal, it may “simplify the issues for both trial and discovery.” Gibly, 2022 WL 2413906, at

  *3 n.5. For example, if the Court grants SaveOn’s motion only as to participants who were already

  enrolled in CarePath when they spoke to SaveOn, it will eliminate any discovery concerning those

  participants.

         B.       Proceeding With Full Discovery Now Would Unjustifiably Burden SaveOn

         Proceeding with full discovery would prejudice SaveOn. Denying a stay may cause undue

  hardship by requiring a defendant to “engage in discovery which would be rendered moot if [its]

  motion to dismiss is granted.” Gibly, 2022 WL 2413906, at *3 n.5; see also Mann, 375 F. App’x

  at 239 (“In certain circumstances it may be appropriate to stay discovery while evaluating a motion

  to dismiss where, if the motion is granted, discovery would be futile.”). “This is particularly true

  in a case such as this where there will be ‘extensive electronic discovery.’” Gibly, 2022 WL

  2413906, at *3 n.5.

         SaveOn would be prejudiced from engaging in discovery while its motion to dismiss is

  pending—especially the large swath of material that JJHCS intends to demand. In its purported

  initial 42 document requests, JJHCS asks for all communications and draft communications with

  persons currently enrolled or eligible to enroll in CarePath (Request 5), all of SaveOn’s commu-

  nications with JJHCS as well as communications concerning those communications (Request 6),

  all communications with CarePath enrollees or patients who declined to enroll (Requests 7, 8), all

  documents concerning SaveOn’s relationship with several third parties and communications with

  the same (Requests 9-11, 13), annual program summary documents for every plan that SaveOn

  partners with and all communications with those plans (Requests 36-38), and all documents and

  communications “relating to CarePath” (Request 23), to name just a few. Ex. 1 at 5-11. SaveOn

  partners with numerous plan sponsors, each of which has a significant number of plan participants.


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  Because discovery concerning all of those plan sponsors and participants would be “voluminous,

  quite costly, and expensive[,] … the equities favor issuance of a stay.” Actelion, 2013 WL

  5524078, at *4; see also id. (“The Court concludes that the potential cost of discovery establishes

  a specific and substantiated risk of harm.”).

         JJHCS also seeks especially sensitive information. It wants SaveOn to identify the hun-

  dreds of thousands of participants enrolled in the plans that SaveOn advises who also enrolled in

  copay assistance programs—not just in CarePath. Ex. 1 (Reqs. 40-41). And it wants all electronic

  prescription-level data for those participants’ drug purchases since January 1, 2016, Ex. 1

  (Req. 42)—which would include their health plan member IDs, BIN numbers, PCN numbers,

  group names, and group numbers. Id. To produce this data, which is owned by the plans, SaveOn

  would have to notify each plan it works with and ensure that the data is produced in compliance

  with HIPAA, all of which would be costly and time intensive.

         JJHCS is also likely to seek extensive discovery from third parties. JJHCS alleges that

  SaveOn executes its alleged scheme by working with entities including Express Scripts (a phar-

  macy benefit manager), Compl. ¶¶ 28, 37-38, 51-52, 68, Accredo (an online specialty pharmacy

  that works with Express Scripts), id. ¶¶ 28, 51, 62-63, 65, and numerous health plans, id. ¶¶ 24,

  53, 84. Allowing full discovery now likely would impose obligations on these third parties and

  on SaveOn.

         The massive scope of JJHCS’s proposed discovery strongly favors granting a stay. See

  Pfizer, 2018 WL 1071932, at *2 (granting a stay where plaintiff’s discovery requests would require

  discovery from defendants and various third parties, exploring defendant’s contracts with third

  parties, pricing and sales strategies, and communications with third parties).




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         C.      Partially Staying Discovery Will Not Prejudice JJHCS

         JJHCS must “articulate a particular prejudice that would arise from a limited stay of dis-

  covery.” Burress, 2021 WL 2661254, at *3. Delay, without more, does not “necessitate a finding

  of undue prejudice and clear tactical disadvantage” to the plaintiff. Id.

         JJHCS has not articulated any need for expedited discovery. It did not need early discovery

  to oppose SaveOn’s motion to dismiss. Spencer v. Wetzel, 2012 WL 2930228, at *2 (M.D. Pa. July

  18, 2012) (recommending grant of motion to stay where plaintiff did not argue discovery was

  necessary to respond to motion to dismiss). There is no risk of JJHCS losing relevant evidence:

  SaveOn is preserving relevant documents, Def.’s Ltr. at 2, and it has agreed to search for and

  collect relevant materials now. Pfizer, 2018 WL 1071932, at *2 (denying motion to stay where a

  stay would “not threaten [defendant’s] ability to collect time sensitive evidence”). And there is no

  need to resolve JJHCS’s claims on an expedited basis—SaveOn has been operating since 2017,

  yet JJHCS did not sue it until this year; JJHCS does not seek preliminary injunctive relief; and

  JJHCS has given this Court no basis to conclude that any alleged “ongoing” harm could not com-

  pensated with money damages, should JJHCS prevail. See Def.’s Ltr.

         JJHCS has not shown that a stay would unduly delay this case. While this Court noted that

  increased caseloads are leading some courts in this District to take longer in resolving motions,

  Ex. 2 at 24:11-18, 27:5-10, Judge Vazquez, who will decide SaveOn’s motion to dismiss, has a

  track record over the last three years of resolving dispositive motions expeditiously, almost always

  during the six-month period following their submission. Ex. 6 (Judge Vazquez’s CJRA 8 Reports,

  2020-2022). It is thus highly likely Judge Vazquez will resolve the motion here by March 31, 2023.

  And SaveOn has agreed to meaningful discovery now and to expedited document production and




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  depositions should any of JJHCS’s claims survive, see Proposed Order, ensuring that this litigation

  will move forward expeditiously.

         JJHCS’s assertions that a stay might harm patients are false. See Pl.’s Ltr. at 1; Ex. 2 at

  6:22-24, 11:2-21. JJHCS alleged that SaveOn engineers false “denials of coverage,” Compl. ¶ 113,

  but the one document it cited in supposed support shows that there is no denial of coverage and

  that no patient is told that there is, Mot. at 27-28—to the contrary, plan participants who enroll in

  copay assistance and consent to monitoring get their specialty drugs for free, e.g., Mot. at 2, 25.

  JJHCS also alleged that SaveOn causes patients emotional harm, Compl. ¶ 114; Opp. 33-34, but it

  cites only a single document showing that only one patient was confused by a drug manufacturer

  (like JJHCS), not by SaveOn. Mot. 22-24. JJHCS cannot oppose a stay with such unsubstantiated

  assertions. C.f., Actelion, 2013 WL 5524078, at *4 (rejecting unsubstantiated assertions that stay-

  ing discovery would “offend” the “public[] … interest”).

         D.      This Litigation Is in a Nascent Stage

         Where a dispositive motion is pending, courts favor a stay if “discovery has not com-

  menced, and a trial date has not been set.” Eye Care Ctr., 2020 WL 7227186, at *2; see also Anfibio

  v. Optio Solutions LLC, 2020 WL 8483808, at *2 (D.N.J. Dec. 30, 2020) (finding that a stay was

  favored in light of “the relative infancy of [the] matter” and “the lack of discovery yet conducted”);

  Actelion, 2013 WL 5524078, at *6 (noting that the limited time between the filing of a complaint

  and a motion to stay discovery (four months) favors a stay because no party has engaged in signif-

  icant production).

         This case is in a very early stage. JJHCS filed its complaint on May 4 and served it on

  May 11. SaveOn moved to dismiss approximately two months later, and that motion is fully




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  briefed. No discovery has been taken, the parties have not agreed to a discovery plan, and the Court

  has not scheduled a Rule 16 conference. The status of the case thus favors a partial stay.

                                           CONCLUSION

         The Court should grant SaveOn’s motion and enter the Proposed Order.


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